        Case 14-02251-JMC-7A              Doc 54        Filed 08/27/19   EOD 08/27/19 08:03:59           Pg 1 of 12




                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF INDIANA
                                                INDIANAPOLIS DIVISION

       In re: VANWINKLE, DEREK LEE                            §    Case No. 14-02251
              VANWINKLE, STACEY LEIGH                         §
                                                              §
                                                              §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Paul D. Gresk, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $125,100.00                             Assets Exempt:      $11,642.00
      (without deducting any secured claims)

      Total Distributions to Claimants:   $167,351.21              Claims Discharged
                                                                   Without Payment:      $213,821.94


      Total Expenses of Administration:    $334,632.00




                3) Total gross receipts of $850,000.00 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $348,016.79 (see Exhibit 2), yielded net receipts of $501,983.21 from the liquidation of the property
      of the estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $119,430.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $334,632.00          $334,632.00          $334,632.00


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00                $0.00                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $212,533.36          $168,639.79          $168,639.79          $167,351.21


   TOTAL DISBURSEMENTS                           $331,963.36          $503,271.79          $503,271.79          $501,983.21




                 4) This case was originally filed under chapter 7 on 03/20/2014. The case was pending for 65
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        08/26/2019                        By: /s/ Paul Gresk
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                            $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                         RECEIVED

 LAWSUITS (2)                                                                                   1242-000                           $850,000.00

                             TOTAL GROSS RECEIPTS                                                                                  $850,000.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                     $ AMOUNT
     PAYEE                                                  DESCRIPTION
                                                                                                   TRAN. CODE                      PAID

 AV                                                                                                   8500-000                     $100,000.00

 DEREK & STACEY VANWINKLE                                                                             8500-000                     $148,016.79

 MV                                                                                                   8500-000                     $100,000.00

 TOTAL FUNDS PAID TO DEBTOR
                                                                                                                                   $348,016.79
       & THIRD PARTIES




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
      Claim                                                                                 CLAIMS                  CLAIMS           CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
       NO.                                                                                 ASSERTED                ALLOWED            PAID
                                              CODE            (from Form 6D)


       N/F      Capital One Auto              4110-000                $22,778.00                       NA                NA                 NA
                Finance
       N/F      Green Tree Servicing          4110-000                $91,958.00                       NA                NA                 NA

       N/F      The Huntington                4110-000                 $4,694.00                       NA                NA                 NA
                National Bank

                   TOTAL SECURED                                    $119,430.00                     $0.00              $0.00              $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM          CLAIMS            CLAIMS                   CLAIMS            CLAIMS
   PAYEE                               TRAN.         SCHEDULED          ASSERTED                 ALLOWED             PAID
                                       CODE

 Trustee, Fees - Paul Gresk           2100-000                 NA            $12,266.09           $12,266.09       $12,266.09

 Trustee, Expenses - Paul Gresk       2200-000                 NA              $133.37              $133.37             $133.37

 Charges, U.S. Bankruptcy Court       2700-000                 NA              $260.00              $260.00             $260.00

 Banking and Technology Service       2600-000                 NA              $311.11              $311.11             $311.11
 Fee - Rabobank, N.A.
 Special Counsel for Trustee Fees -   3210-600                 NA            $89,816.67           $89,816.67       $89,816.67
 CLARK QUINN MOSES SCOTT &
 GRAHN
 Special Counsel for Trustee Fees -   3210-600                 NA           $193,516.66          $193,516.66      $193,516.66
 PRICE WAICUKAUSKI JOVEN &
 CATLIN
 Special Counsel for Trustee          3220-610                 NA             $5,645.15            $5,645.15        $5,645.15
 Expenses - CLARK QUINN MOSES
 SCOTT & GRAHN
 Special Counsel for Trustee          3220-610                 NA            $32,682.95           $32,682.95       $32,682.95
 Expenses - PRICE WAICUKAUSKI
 JOVEN & CATLIN
 TOTAL CHAPTER 7 ADMIN. FEES
                                                               NA           $334,632.00          $334,632.00      $334,632.00
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                               UNIFORM          CLAIMS             CLAIMS             CLAIMS                   CLAIMS
         PAYEE
                              TRAN. CODE      SCHEDULED           ASSERTED           ALLOWED                    PAID

                                                           None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                                   CLAIMS
                                                 UNIFORM       CLAIMS
 CLAIM                                                                            ASSERTED           CLAIMS       CLAIMS
                       CLAIMANT                   TRAN.     SCHEDULED
  NO.                                                                          (from Proofs of      ALLOWED        PAID
                                                  CODE     (from Form 6E)
                                                                                    Claim)


                                                           None




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                        CLAIMS
                                       UNIFORM         CLAIMS
                                                                       ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.         CLAIMANT             TRAN.       SCHEDULED
                                                                    (from Proofs of    ALLOWED            PAID
                                        CODE       (from Form 6F)
                                                                         Claim)

     1       Cohen & Malad, LLP        7100-000                NA         $44,017.64    $44,017.64      $43,681.31


     2       Discover Bank             7100-000                NA          $3,267.56     $3,267.56       $3,242.59
             Discover Products INC

     3       Von Maur, Inc.            7100-000                NA            $159.43      $159.43             $158.21


     4       Capital One Bank          7100-000                NA          $5,814.46     $5,814.46       $5,770.03
             (USA), N.A.

     5       Capital One Bank          7100-000                NA            $978.62      $978.62             $971.14
             (USA), N.A.

     6       Capital One Bank          7100-000                NA            $921.91      $921.91             $914.87
             (USA), N.A.

     7       Capital One Bank          7100-000                NA          $1,805.88     $1,805.88       $1,792.08
             (USA), N.A.

     8       Navient Solutions, Inc.   7100-000                NA          $7,161.67     $7,161.67       $7,106.95


     9       Navient Solutions, Inc.   7100-000                NA          $2,145.83     $2,145.83       $2,129.43


     10      Navient Solutions, Inc.   7100-000                NA         $11,963.71    $11,963.71      $11,872.30


     11      Navient Solutions, Inc.   7100-000                NA          $2,067.46     $2,067.46       $2,051.66


     12      Navient Solutions, Inc.   7100-000                NA         $76,824.42    $76,824.42      $76,237.40
             Department of
             Education Loan
             Services

     13      Capital One NA c/o        7100-000                NA          $2,522.69     $2,522.69       $2,503.41
             Becket and Lee LLP

     14      PYOD, LLC its             7100-000                NA            $765.61      $765.61             $759.76
             successors and
             assigns as assignee of
             FNBM, LLC Resurgent
             Capital Services




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     15      PYOD, LLC its            7100-000              NA       $2,751.85      $2,751.85       $2,730.82
             successors and
             assigns as assignee of
             Citibank, N.A.
             Resurgent Capital
             Services

     16      PYOD, LLC its            7100-000              NA       $5,471.05      $5,471.05       $5,429.25
             successors and
             assigns as assignee of
             Citibank, N.A.
             Resurgent Capital
             Services

    N/F      AT&T                     7100-000         $100.81             NA              NA             NA


    N/F      AT&T                     7100-000         $212.85             NA              NA             NA


    N/F      CCB Credit Services,     7100-000         $159.43             NA              NA             NA
             Inc.

    N/F      Capital One Bank, N.A.   7100-000        $5,713.00            NA              NA             NA


    N/F      Capital One Bank, N.A.   7100-000        $1,774.00            NA              NA             NA


    N/F      Capital One Bank, N.A.   7100-000         $963.00             NA              NA             NA


    N/F      Capital One Bank, N.A.   7100-000         $904.00             NA              NA             NA


    N/F      Chase BP Private         7100-000         $770.00             NA              NA             NA
             Label

    N/F      Citibank/Sears           7100-000        $2,670.11            NA              NA             NA


    N/F      Cohen & Malad, LLP       7100-000       $43,500.00            NA              NA             NA
             One Indiana Square

    N/F      Community Health         7100-000         $909.67             NA              NA             NA
             Network

    N/F      Credit One Bank          7100-000         $718.00             NA              NA             NA


    N/F      Delbert Services         7100-000       $14,440.44            NA              NA             NA


    N/F      Department of            7100-000       $70,423.00            NA              NA             NA
             Education/Sallie Mae

    N/F      Discover Financial       7100-000        $3,142.00            NA              NA             NA
             Services

    N/F      GE Capital/Walmart       7100-000         $422.00             NA              NA             NA



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    N/F      GE Capital/Walmart    7100-000        $1,143.00             NA             NA             NA


    N/F      GE/JCPENNEY           7100-000         $655.00              NA             NA             NA


    N/F      GECRB/Care One        7100-000        $1,029.00             NA             NA             NA


    N/F      GEMB/Old Navy         7100-000         $227.00              NA             NA             NA


    N/F      Home Depot/Citibank   7100-000         $601.00              NA             NA             NA


    N/F      Indiana University    7100-000        $6,035.00             NA             NA             NA


    N/F      Kohls/Capital One     7100-000        $2,443.00             NA             NA             NA


    N/F      Med-1 Solutions       7100-000        $1,082.02             NA             NA             NA


    N/F      MedShield, Inc.       7100-000         $110.35              NA             NA             NA


    N/F      Meijer                7100-000         $682.00              NA             NA             NA


    N/F      Mobiloans             7100-000        $1,064.22             NA             NA             NA


    N/F      Plain Green, LLC      7100-000        $4,100.00             NA             NA             NA


    N/F      Sallie Mae            7100-000       $28,074.00             NA             NA             NA


    N/F      Sallie Mae            7100-000        $9,163.00             NA             NA             NA


    N/F      Sears/Citibank        7100-000        $5,320.68             NA             NA             NA


    N/F      dsc delbert           7100-000        $3,981.78             NA             NA             NA


             TOTAL GENERAL
            UNSECURED CLAIMS                     $212,533.36     $168,639.79   $168,639.79     $167,351.21




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                                                           Form 1
                                                                                                                                                     Exhibit 8
                                       Individual Estate Property Record and Report                                                                  Page: 1

                                                        Asset Cases
Case No.: 14-02251                                                                        Trustee Name:      (340550) Paul D. Gresk
Case Name:    VANWINKLE, DEREK LEE                                                        Date Filed (f) or Converted (c): 03/20/2014 (f)
              VANWINKLE, STACEY LEIGH
                                                                                          § 341(a) Meeting Date:       05/07/2014
For Period Ending:       08/26/2019                                                       Claims Bar Date:      06/30/2016

                                   1                              2                      3                      4                   5                     6

                           Asset Description                   Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                          and Other Costs)

    1       LAWSUITS (2) (u)                                            0.00                 10,000.00                           850,000.00                            FA

    2       7618 MOULTRIE COURT, INDPLS IN                     100,000.00                         0.00         OA                        0.00                          FA
            46217

    3       INDIANA MEMBERS CREDIT UNION                              500.00                 Unknown           OA                        0.00                          FA
            CHECKING ACCT #4404

    4       INDIANA MEMBERS CREDIT UNION                               50.00                 Unknown           OA                        0.00                          FA
            SAVINGS ACCT #4404

    5       HOUSEHOLD GOODS AND                                   2,000.00                        0.00         OA                        0.00                          FA
            FURNISHINGS

    6       BOOKS AND PICTURES                                         50.00                      0.00         OA                        0.00                          FA

    7       CLOTHING                                                  500.00                      0.00         OA                        0.00                          FA

    8       COSTUME JEWELRY AND WEDDING                               500.00                      0.00         OA                        0.00                          FA
            RINGS

    9       2012 KIA SEDONA GOOD CONDITION                      17,000.00                         0.00         OA                        0.00                          FA
            24,842 MI

   10       2007 KIA SPORTAGE GOOD                                4,500.00                        0.00         OA                        0.00                          FA
            CONDITION 47,582 MI

   10       Assets Totals (Excluding unknown values)          $125,100.00                 $10,000.00                           $850,000.00                       $0.00



 Major Activities Affecting Case Closing:

                                10/24/18 ORDER ON THE TRUSTEE'S APPLICATION FOR COMPENSATION WAS SIGNED.
                                10/2/18 NFR WAS FILED. APPLICATION FOR TRUSTEE'S COMPENSATION WAS FILED. ORDER ON
                                THE TRUSTEE'S APPLICATION FOR COMPENSATION WAS UPLOADED.
                                6/7/18 MINUTE ENTRY ORDER - MOTION GRANTED, ORDER SIGNED.
                                5/9/18 NOTICE OF HEARING ON THE APPLICATION FOR COMPENSATION FOR WILLIAM GOODEN
                                AND RONALD J WAICUKAUSKI AS SPECIAL COUNSEL WAS SET FOR JUNE 7TH AT 10:30 IN ROOM
                                325
                                5/5/18 APPLICATION FOR COMPENSATION FOR SPECIAL COUNSEL WAS FILED. ORDER ON THE
                                APPLICATION FOR SPECIAL COUNSEL WAS UPLOADED.
                                2/8/2018 ORDER GRANTING MOTION TO SETTLE WAS SIGNED BY THE JUDGE.
                                11/9/17 AMENDED MOTION TO SETTLE WAS FILED. 10/26/17 MOTION TO SETTLE WAS FILED. 10/5/17
                                RECEIVED SETTLEMENT OFFER FROM ATTORNEY AND NEED RESPONSE SUBMITTED BY THE 9TH
                                OF OCTOBER. REVIEWING PROPOSED OFFER WITH TRUSTEE.
                                03/15/16 MOTION TO REOPEN. 03/15/16 MOTION FOR RELIEF FROM JUDGMENT. 03/16/16
                                RESUBMITTED ORDER FOR RELIEF WITH NEW JUDGE'S INITIALS PER COURTS INSTRUCTIONS.
                                03/30/16 FILED NOTICE OF POSSIBLE ASSETS. 03/30/16 FILED APPLICATION TO EMPLOY SPECIAL
                                COUNSEL.

 Initial Projected Date Of Final Report (TFR): 09/30/2018                      Current Projected Date Of Final Report (TFR):            07/24/2018 (Actual)




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                                                        Form 1
                                                                                                                  Exhibit 8
                                    Individual Estate Property Record and Report                                  Page: 2

                                                     Asset Cases
Case No.: 14-02251                                              Trustee Name:      (340550) Paul D. Gresk
Case Name:    VANWINKLE, DEREK LEE                              Date Filed (f) or Converted (c): 03/20/2014 (f)
              VANWINKLE, STACEY LEIGH
                                                                § 341(a) Meeting Date:    05/07/2014
For Period Ending:     08/26/2019                               Claims Bar Date:     06/30/2016



                     08/26/2019                                     /s/Paul D. Gresk
                        Date                                        Paul D. Gresk




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                                                              Form 2                                                                              Exhibit 9
                                                                                                                                                  Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              14-02251                                           Trustee Name:                     Paul D. Gresk (340550)
                       VANWINKLE, DEREK LEE
Case Name:                                                                Bank Name:                        Rabobank, N.A.
                       VANWINKLE, STACEY LEIGH
                                                                          Account #:                        ******3300 Checking
Taxpayer ID #:         **-***8072
                                                                          Blanket Bond (per case limit): $36,630,939.00
For Period Ending: 08/26/2019
                                                                          Separate Bond (if applicable): N/A

    1          2                          3                                      4                               5                   6                     7

  Trans.    Check or          Paid To / Received From         Description of Transaction        Uniform       Deposit        Disbursement          Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 01/22/18                PRICE WAICUKAUSKI JOVEN &         SETTLEMENT                                           180,321.78                                    180,321.78
                         CATLIN, LLC TRUST ACCOUNT

                         PRICE WAICUKAUSKI JOVEN &         ATTORNEY FEES                       3210-600
                         CATLIN
                                                                               -$193,516.66

                         CLARK QUINN MOSES SCOTT           ATTORNEY FEES                       3210-600
                         & GRAHN
                                                                                -$89,816.67

                         PRICE WAICUKAUSKI JOVEN &         ATTORNEY EXPENSES                   3220-610
                         CATLIN
                                                                                -$32,682.95

                         CLARK QUINN MOSES SCOTT           ATTORNEY EXPENSES                   3220-610
                         & GRAHN
                                                                                 -$5,645.15

                         MV                                                                    8500-000

                                                                               -$100,000.00

                         AV                                                                    8500-000

                                                                               -$100,000.00

                         DEREK & STACEY VANWINKLE                                              8500-000

                                                                               -$148,016.79

              {1}        PRICE WAICUKAUSKI JOVEN &         LAWSUIT SETTLEMENT                  1242-000
                         CATLIN TRUST ACCOUNT
                                                                                $850,000.00

 01/31/18                Rabobank, N.A.                    Bank and Technology Services        2600-000                                   69.16               180,252.62
                                                           Fees

 02/19/18     101        US BANKRUPTCY COURTS              FILING FEE TO REOPEN CASE           2700-000                                  260.00               179,992.62

 02/28/18                Rabobank, N.A.                    Bank and Technology Services        2600-000                                  241.95               179,750.67
                                                           Fees

 10/26/18     102        Paul Gresk                        Distribution payment - Dividend     2100-000                            12,266.09                  167,484.58
                                                           paid at 43.27% of $28,349.16;
                                                           Claim # FEE; Filed: $28,349.16

 10/26/18     103        Paul Gresk                        Distribution payment - Dividend     2200-000                                  133.37               167,351.21
                                                           paid at 100.00% of $133.37; Claim
                                                           # TE; Filed: $133.37

 10/26/18     104        Cohen & Malad, LLP                Distribution payment - Dividend     7100-000                            43,681.31                  123,669.90
                                                           paid at 99.24% of $44,017.64;
                                                           Claim # 1; Filed: $44,017.64

 10/26/18     105        Discover Bank Discover Products   Distribution payment - Dividend     7100-000                              3,242.59                 120,427.31
                         INC                               paid at 99.24% of $3,267.56;
                                                           Claim # 2; Filed: $3,267.56

 10/26/18     106        Von Maur, Inc.                    Distribution payment - Dividend     7100-000                                  158.21               120,269.10
                                                           paid at 99.23% of $159.43; Claim
                                                           # 3; Filed: $159.43

 10/26/18     107        Capital One Bank (USA), N.A.      Distribution payment - Dividend     7100-000                              5,770.03                 114,499.07
                                                           paid at 99.24% of $5,814.46;
                                                           Claim # 4; Filed: $5,814.46

 10/26/18     108        Capital One Bank (USA), N.A.      Distribution payment - Dividend     7100-000                                  971.14               113,527.93
                                                           paid at 99.24% of $978.62; Claim

                                                                                        Page Subtotals:       $180,321.78         $66,793.85        true

{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
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                                                              Form 2                                                                                   Exhibit 9
                                                                                                                                                       Page: 2
                                              Cash Receipts And Disbursements Record
Case No.:                 14-02251                                           Trustee Name:                   Paul D. Gresk (340550)
                          VANWINKLE, DEREK LEE
Case Name:                                                                   Bank Name:                      Rabobank, N.A.
                          VANWINKLE, STACEY LEIGH
                                                                             Account #:                      ******3300 Checking
Taxpayer ID #:            **-***8072
                                                                             Blanket Bond (per case limit): $36,630,939.00
For Period Ending: 08/26/2019
                                                                             Separate Bond (if applicable): N/A

    1             2                       3                                        4                               5                     6                       7

  Trans.       Check or       Paid To / Received From           Description of Transaction       Uniform       Deposit             Disbursement         Account Balance
   Date         Ref. #                                                                          Tran. Code       $                       $

                                                             # 5; Filed: $978.62

 10/26/18        109      Capital One Bank (USA), N.A.       Distribution payment - Dividend    7100-000                                     914.87                112,613.06
                                                             paid at 99.24% of $921.91; Claim
                                                             # 6; Filed: $921.91

 10/26/18        110      Capital One Bank (USA), N.A.       Distribution payment - Dividend    7100-000                                  1,792.08                 110,820.98
                                                             paid at 99.24% of $1,805.88;
                                                             Claim # 7; Filed: $1,805.88

 10/26/18        111      Navient Solutions, Inc.            Distribution payment - Dividend    7100-000                                  7,106.95                 103,714.03
                                                             paid at 99.24% of $7,161.67;
                                                             Claim # 8; Filed: $7,161.67

 10/26/18        112      Navient Solutions, Inc.            Distribution payment - Dividend    7100-000                                  2,129.43                 101,584.60
                                                             paid at 99.24% of $2,145.83;
                                                             Claim # 9; Filed: $2,145.83

 10/26/18        113      Navient Solutions, Inc.            Distribution payment - Dividend    7100-000                                 11,872.30                   89,712.30
                                                             paid at 99.24% of $11,963.71;
                                                             Claim # 10; Filed: $11,963.71

 10/26/18        114      Navient Solutions, Inc.            Distribution payment - Dividend    7100-000                                  2,051.66                   87,660.64
                                                             paid at 99.24% of $2,067.46;
                                                             Claim # 11; Filed: $2,067.46

 10/26/18        115      Navient Solutions, Inc.            Distribution payment - Dividend    7100-000                                 76,237.40                   11,423.24
                          Department of Education Loan       paid at 99.24% of $76,824.42;
                          Services                           Claim # 12; Filed: $76,824.42

 10/26/18        116      Capital One NA c/o Becket and      Distribution payment - Dividend    7100-000                                  2,503.41                    8,919.83
                          Lee LLP                            paid at 99.24% of $2,522.69;
                                                             Claim # 13; Filed: $2,522.69

 10/26/18        117      PYOD, LLC its successors and       Distribution payment - Dividend    7100-000                                     759.76                   8,160.07
                          assigns as assignee of FNBM,       paid at 99.24% of $765.61; Claim
                          LLC Resurgent Capital Services     # 14; Filed: $765.61

 10/26/18        118      PYOD, LLC its successors and       Distribution payment - Dividend    7100-000                                  2,730.82                    5,429.25
                          assigns as assignee of Citibank,   paid at 99.24% of $2,751.85;
                          N.A. Resurgent Capital Services    Claim # 15; Filed: $2,751.85

 10/26/18        119      PYOD, LLC its successors and       Distribution payment - Dividend    7100-000                                  5,429.25                        0.00
                          assigns as assignee of Citibank,   paid at 99.24% of $5,471.05;
                          N.A. Resurgent Capital Services    Claim # 16; Filed: $5,471.05

                                              COLUMN TOTALS                                                       180,321.78            180,321.78                       $0.00
                                                    Less: Bank Transfers/CDs                                             0.00                   0.00
                                              Subtotal                                                            180,321.78            180,321.78
        true
                                                    Less: Payments to Debtors                                                                   0.00

                                              NET Receipts / Disbursements                                      $180,321.78            $180,321.78


                                                                                                                                                         false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
             Case 14-02251-JMC-7A                      Doc 54   Filed 08/27/19          EOD 08/27/19 08:03:59             Pg 12 of 12

                                                       Form 2                                                                 Exhibit 9
                                                                                                                              Page: 3
                                       Cash Receipts And Disbursements Record
Case No.:           14-02251                                    Trustee Name:                   Paul D. Gresk (340550)
                    VANWINKLE, DEREK LEE
Case Name:                                                      Bank Name:                      Rabobank, N.A.
                    VANWINKLE, STACEY LEIGH
                                                                Account #:                      ******3300 Checking
Taxpayer ID #:      **-***8072
                                                                Blanket Bond (per case limit): $36,630,939.00
For Period Ending: 08/26/2019
                                                                Separate Bond (if applicable): N/A




                                                                                                   NET                   ACCOUNT
                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS     DISBURSEMENTS              BALANCES
                                 ******3300 Checking                              $180,321.78        $180,321.78                 $0.00

                                                                                  $180,321.78             $180,321.78             $0.00




                 08/26/2019                                             /s/Paul D. Gresk
                   Date                                                 Paul D. Gresk




UST Form 101-7-TDR (10 /1/2010)
